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                              UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF PENNSYLVANIA

S.R.J.,

                   Plaintiff,
                                                                      2:21-cv-1863
                                                    Civil Action No: ________________
          v.

MARRIOTT INTERNATIONAL, INC.,
VISTANA SIGNATURE EXPERIENCES,
INC., and ABC, CORPORATIONS NOS. 1-
5,

                   Defendants.

                                            COMPLAINT

          AND NOW, comes Plaintiff, S.R.J., (“Plaintiff” or “S.R.J.”), by its undersigned counsel,

Frank C. Botta, Esq., and The Lynch Law Group, LLC, and hereby files the within Complaint

and in support thereof aver as follows:

                                              PARTIES

          1.       Plaintiff, S.R.J. is an adult woman and citizen of the United States of America,

who is domiciled in Pennsylvania, with an address in Sewickley, Pennsylvania 15143.

          2.       Defendant Marriott International, Inc. is Maryland corporation with an address of

10400 Fernwood Rd., Bethesda, Maryland 20817.

          3.       Defendant Vistana Signature Experiences, Inc. is a Florida corporation with an

address of 9002 San Marco Ct., Orlando, Florida 32819.

          4.       Defendants ABC, Corporations Nos. 1-5 represent the entity or entities that

possess power, control, and oversight over the spa located at the Westin Los Cabos Resort Villas

and Spa. Their address or addresses remain unknown at this time.




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                                  VENUE AND JURISDICTION

   5.         This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332(a) as the

parties are citizens of different states and the amount in controversy exceeds $75,000.

         6.       Venue is proper in the Western District of Pennsylvania pursuant to 28 U.S. Code

§ 1391.

                                   FACTUAL BACKGROUND

   I.          Plaintiff’s Background

         7.       Prior to pursing her professional endeavors, Plaintiff S.R.J. graduated from

college with honors.

         8.       During her time in college, S.R.J. was a decorated varsity swimmer with many

friends and an unwavering drive to succeed.

         9.       At this time, S.R.J. is a young, professional woman who has been promoted four

(4) times over roughly the last six (6) years at her previous employer where she continued to

excel in her chosen profession.

         10.      Prior to the incident described herein, S.R.J. was thriving in her career, with a

positive outlook on life and the future.

         11.      As a direct result of the incident described herein, and based upon her ongoing

mental health struggles, S.R.J. was left with no other choice but to change jobs and leave a

lucrative position in management with her prior employer.

   II.        The Relationship between the Defendants

         12.      The Westin Los Cabos Resort Villas and Spa (hereinafter “The Westin” or the

“Hotel”), located in Los Cabos, Mexico, officially reopened to the public following extensive

renovations in June 2017.



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        13.    Advertisements for the new and improved Hotel boasted the features of Spa

Otomi (the “Hotel Spa”), with its array of services intended to provide guests with the

opportunity to soothe, revitalize and reclaim their well-being while visiting the Hotel.

        14.    Through marketing, publications, and other solicitous means, the Hotel has tied

itself inextricably to the Hotel Spa.

        15.    Indeed, even the name of the Hotel demonstrates the relationship between the

Hotel and the Spa.

        16.    Upon information and belief, there exists a contractual relationship setting forth

the duties and obligations for the Hotel and all of its business partners, vendors and associates to

provide safe and secure amenities to Hotel guests.

        17.    Upon information and belief, the Hotel Spa would be subject to the duties and

obligations of any business partner, vendor and/or associate of the Hotel.

        18.    Upon information and belief, the Hotel is a Westin Vacation Club Resort, which

is owned and operated by Defendant VistanaTM Signature Experiences, Inc. (hereinafter

Defendant Vistana).

        19.    Upon information and belief, the Westin is also part of the premium hotel chain

owned, operated, and controlled by Defendant Marriott International, Inc.

        20.    Upon further information and belief, the Hotel Spa is owned and operated by one

or all of the above-named Defendants, or another entity that remains unknown to Plaintiff at this

time.

        21.    S.J.R., and her parents, selected The Westin as their vacation destination based

upon, among other things, the reputation of Westin resorts and hotels, and the Hotel’s features,

including the Hotel Spa.



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   III.     The Assault

          22.   On or about January 19, 2020, S.R.J. and her significant other arrived at The

Westin to meet her parents for a week’s long vacation in Mexico.

          23.   The next day, while S.R.J. and her mother were relaxing at the Hotel pool, they

were approached by two Hotel spa massage therapists, Fernando Chagoyan (“Mr. Chagoyan”)

and another therapist by the name of Emelia.

          24.   The two massage therapists provided S.R.J. and her mother each with a

complimentary five (5) minute massage.

          25.   Upon information and belief, massage therapists from the Hotel spa regularly

sought out to provide complimentary massages to Hotel guests in an effort to entice them into

purchasing a longer spa service offered by the Hotel spa.

          26.   Mr. Chagoyan, who had provided the complimentary massage to S.R.J., insisted

that an indoor spa treatment would be quieter, offer less distractions, and would be overall more

preferable for S.R.J. and her mother.

          27.   At approximately six feet tall and nearly 200 pounds, Mr. Chagoyan was much

larger than S.R.J.

          28.   In reliance upon Mr. Chagoyan’s insistence and representations relative to the

indoor spa treatments offered by the Hotel spa, both S.R.J. and her mother scheduled an

appointment for 8:00 a.m. the next day on January 21, 2020.

          29.   Mr. Chagoyan was scheduled to provide S.R.J.’s spa treatment scheduled for

January 21, 2020.




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       30.       Initially, S.R.J.’s massage appointment began as expected, and in the normal

course as she had experienced during prior spa treatments, which included having a towel draped

over her breasts and her lower extremities.

       31.       At one point during her massage, S.R.J. was requested to turn over onto her back.

       32.       At this time, Mr. Chagoyan placed a cloth towel over S.R.J.’s eyes.

       33.       Mr. Chagoyan proceed to perform the massage on S.R.J., however, the spa

treatment provided by Mr. Chagoyan quickly went from normal, to highly offensive and

inappropriate.

       34.       First, Mr. Chagoyan removed the towel covering S.R.J.’s genitals.

       35.       Then, Mr. Chagoyan removed the sheet to expose S.R.J.’s entirely naked body.

       36.       In addition, Mr. Chagoyan proceeded to engage in repeated, improper and

nonconsensual sexual contact with S.R.J., including, among other things, groping S.R.J.’s

vagina, thrusting his fingers into her vagina and grabbing and fondling her breasts.

       37.       Mr. Chagoyan engaged in this unwanted, nonconsensual, and improper sexual

conduct while S.R.J. was in a vulnerable position, laying on her back, and completely undressed.

       38.       When S.R.J. attempted to move her leges to the left in an effort to stop any further

sexual assault from taking place, Mr. Chagoyan continued the unwanted, nonconsensual, and

improper sexual contact by deepening his invasive and harmful penetration with his fingers.

       39.       Only after started to rise from the massage table and forcibly pushed Mr.

Chagoyan’s hand away was S.R.J. finally successful in stopping the sexual assault.

       40.       S.R.J. was traumatized, in complete shock, and in fear of imminent physical harm.

       41.       Mr. Chagoyan proceeded to place his hands on her arms and neck.




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       42.     S.R.J. was frozen with fear and convinced that Mr. Chagoyan was going to harm

her as he continued to massage S.R.J.’s neck.

       43.     Mr. Chagoyan stood over S.R.J. as she laid on the table.

       44.     Mr. Chagoyan positioned himself between S.R.J. and the door, restricting her

from being able to leave the room.

       45.     The massage concluded shortly thereafter, and Mr. Chagoyan left the room.

       46.     Immediately after Mr. Chagoyan left the room, S.R.J. began to search the room

for a telephone or some other means of communication so that she could make contact with

someone within the Hotel and ask for their assistance.

       47.     Unfortunately, S.R.J. was unable to find any telephone or other means of

communication with any of the Hotel staff.

       48.     S.R.J. was left with no choice but to immediately rush out of the room in order to

find someone to help her.

       49.     S.R.J. ran to the Hotel gym located across the hall of the Hotel Spa and found

another Hotel guest and asked for the guest’s assistance.

       50.     The Hotel guest escorted S.R.J., ultimately having to carry S.R.J. to the lower

level of the Hotel Spa’s entrance and reception area and reported the incident to a Hotel

representative at the front desk of the Hotel Spa, as S.R.J. was still in shock, shaking and

traumatized in the aftermath of the assault.

       51.     Despite the fact that S.R.J. was clearly in distress and physically shaken, the Hotel

refused to contact the police to come to the Hotel so that a report could be filed, and a formal

investigation could take place.




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        52.     The Hotel further refused to call for an ambulance to provide care to S.R.J.

following the assault.

        53.     The Hotel also precluded the Hotel medic from accompanying S.R.J. to the

Tourist Assistance Center in Los Cabos.

        54.     Instead, S.R.J. was forced to leave the confines of the Hotel, as Antonio Argaz,

the Security Manager for the Hotel, represented to S.R.J. that the police would not come to the

Hotel, and insisted that it was necessary for S.R.J. to leave the Hotel and go to the police to

initiate her report.

        55.     Hotel staff represented that the police were not allowed to enter the Hotel

property.

        56.     Mr. Argaz drove S.R.J. thirty (30) minutes to the Tourist Assistance Center in Los

Cabos to file a police report.

        57.     S.R.J. was forced to depart from the Hotel property and venture into the

unfamiliar territory of the country of Mexico, despite the physical manifestations of her distress

as she continued to shake and cry in the aftermath of the assault.

        58.     Once S.R.J. and Mr. Argaz arrived at the Los Cabos Tourist Assistance Center

with her significant other and her parents, S.R.J. had to wait over three (3) hours before she

finally had the opportunity to make her report to the police and be examined by a medical

professional.

        59.     While she was at the Los Cabos Tourist Assistance Center, S.R.J. was informed

that the police would have arrived at the Hotel, had they been notified of the assault.




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       60.       This, of course, is inconsistent with the representations made by Mr. Argaz, who

insisted that S.R.J. needed to leave the hotel and travel to the Los Cabos Tourist Assistance

Center in order to initiate a report with the police regarding the assault.

       61.       S.R.J. was also later informed that the San Jose del Cabo Police Department was

closer to the Hotel, and would have been the proper jurisdiction to take S.R.J.’s report.

       62.       The Tourist Assistance Center in Los Cabos also indicated to S.R.J. that an

incident similar to the assault she endured had taken place at the Hotel in or about 2017.

       63.       Upon information and belief, the 2017 incident involved inappropriate sexual

conduct toward a guest at the Hotel.

       64.       S.R.J. completed a criminal report against Mr. Chagoyan while at the Tourist

Assistance Center in Los Cabos.

       65.       S.R.J. was also seen by a medical physician while making her report to the police,

and had a swab performed for evidentiary purposes.

       66.       Immediately after the incident and again upon her return to the Hotel, S.R.J. and

her mother requested that the Hotel save all video surveillance footage from the Hotel Spa

reception and gym areas of the Hotel.

       67.       S.R.J. and her mother further requested that the Hotel preserve the sheets from the

spa room where the assault took place.

       68.       Representatives from the Hotel informed S.R.J. that the assault was escalated to

the Hotel’s risk management department, as well as the corporate offices of Marriott

International.

       69.       At or around this same time, S.R.J.’s mother met with the Hotel manager, Manuel

Oviedo.



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          70.    S.R.J.’s mother impressed upon Mr. Oviedo the importance of preserving all

evidence, and demanded that proper measures be taken to ensure preservation of the same.

          71.    S.R.J. and her family requested that they be transferred to an alternative hotel

property or move S.R.J. to another hotel room for safety purposes.

          72.    Despite the request made to the Hotel by S.R.J. and her parents regarding their

valid concerns for their safety, their request was ultimately denied.

          73.    S.R.J. and her family made repeated requests to management of the Hotel to have

the police come to the Hotel.

          74.    S.R.J. and her family were assured that the Hotel had called the police and they

would come to the Hotel to take a report.

          75.    Despite these assurances that the police were called, the police never came to the

Hotel.

          76.    Instead, it was not until the last day of their vacation that S.R.J. and her family

were offered a ride to the police station.

    IV.     The Aftermath of the Assault

          77.    In the days and weeks that followed the assault, S.R.J. continued to experience

shock, as well as symptoms of debilitating panic attacks as she tried to participate in her normal

daily activities.

          78.    On several occasions, S.R.J.’s panic attacks resulted in her having to leave her

place of work.

          79.    In addition, her positive energy and generally happy demeanor was completely

diminished, leaving her feeling as though she was just a shell of who she was before the assault.




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       80.     S.R.J. was prescribed sleeping pills as she could not sleep, as well as anti-

depressants to address her anxiety and depression.

       81.     As a direct result of the assault S.R.J. endured, S.R.J. has suffered, and continues

to suffer, from severe and permanent mental anguish, anxiety and distress, as well as persistent,

negative, trauma-related emotions, including fear, horror, anger, guilt, and shame.

       82.     In the aftermath of the assault, S.R.J. also faces overwhelming hypervigilance and

relentless sleeplessness.

       83.     After the assault, S.R.J. was seen in the emergency department of a hospital.

       84.     S.R.J. was also seen and treated by her primary care physician, who

recommended that S.R.J. take 1-2 weeks off from her employment.

       85.     Ultimately, S.R.J. took a leave of absence from work for a period of ten (10)

weeks, from March 2020 through May 2021 so that she could attempt to heal from the pain and

suffering she continues to suffer from as a direct result of the sexual assault. S.R.J has been

required to take additional days off from her employment since May, 2021 as a direct result of

the pain and suffering that she continues to experience due to the sexual assault.

       86.     In addition, S.R.J. has maintained and attended regular appointments with her

physician, psychologist, a sexual assault psychologist, as well as a psychiatrist, to assist with

treating the mentally debilitating effects from the sexual assault.

       87.     S.R.J. has, as a direct result of this incident, been diagnosed with severe Post

Traumatic Stress Disorder (“PTSD”) and dissociation.

       88.     S.R.J. has been treated, and continues to be treated, using, among other things,

cognitive behavioral techniques to manage panic attacks and unhelpful thoughts and

psychoeducation regarding trauma.



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       89.     In addition, S.R.J.’s treating psychologists have acknowledged that S.R.J.’s

symptoms following the sexual assault are demonstrative of panic disorder, anxiety disorder, and

depressive disorder.

       90.     S.R.J. has also suffered, and continues to suffer, physical symptoms of her

distress of chest tightness, chest heaviness, difficulty breathing, lightning bolt sensations, and

light headedness.

       91.     Not only has S.R.J. suffered these physical symptoms, but she also continues to

notice other changes in her everyday life, including disengagement with friends, passive suicide

ideation, and a diminished interest in her work.

       92.     S.R.J. further suffers from avoidance of triggering environments, including

intimacy with her significant other and avoidance of activities like massages and beauty

treatments.

       93.     S.R.J. continues to struggle with her daily job duties and responsibilities

following the aftermath of the assault.

       94.     S.R.J.’s emotional and psychological state has continued to deteriorate to such an

extent that she was forced to seek new employment as a direct result of her inability to perform

at the high level that she once did prior to the sexual assault.

       95.     S.R.J.’s overall quality of life has been significantly diminished as a direct result

of the trauma of the assault.

       96.     As a direct result of the actions, omissions, and/or inactions of Defendants, S.R.J.

has suffered and will in the future suffer mental and emotional anguish, embarrassment, fear,

humiliation, frustration, loss of well-being, and other intangible injuries.




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        97.     As a direct result of the actions, omissions, and/or inactions of Defendants, S.R.J.

has been prevented from and, in the future, will be prevented from performing her normal

activities and is and will be unable to pursue normal and ordinary pleasures of life.

                                     COUNT I
                        NEGLIGENCE AGAINST ALL DEFENDANTS

        98.     Plaintiff incorporates by reference all allegations set forth in all previous

paragraphs, as if fully set forth herein.

        99.     At all times material hereto, Defendants marketed themselves to the general

public as businesses dedicated to the provision of premium vacation experiences,

accommodations, and guest services.

        100.            At all material times hereto, the employees of the Hotel Spa were under

the direct or indirect supervision, custody, and control of Defendants.

        101.            Defendants’ core business model revolves, entirely, around the successful

solicitation of invitees, like Plaintiff, to pay money to Defendants for use and enjoyment of their

luxury resorts and the facilities contained therein.

        102.            Therefore, Defendants owe a duty of care to the invitee-guests, like

Plaintiff, who patronize their businesses to ensure their properties are reasonably safe for the

purposes for which they are intended to be used by said invitee-guests.

        103.            When Defendants hired and continued to employ Mr. Chagoyan, his

supervisor, and all other employees associated with the Hotel Spa, they were under a duty to

enact reasonable continuing safety measures to—at a minimum—monitor the activities of these

employees, vendors and business service providers, and provide reporting mechanisms to ensure

these employees, vendors and business service providers would maintain the safe environment

that Defendants were under a duty to maintain for their invitees.

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       104.            When Defendants began, and continued operating the Hotel, including the

Hotel Spa, they were under a duty to ensure that the facility and its employees—at a minimum—

posed no unreasonable risks to the health and safety of the invitee-guests at their resort.

       105.            When Defendants continued to operate the Hotel, including the Spa,

without adequate safety measures in place to support the prevention or immediate exposure of

sexual assault being perpetuated upon invitee-guests or any other persons on the premises of the

Hotel, they breached their duty to provide a reasonably safe environment for invitee-guests and

workers alike.

       106.            Defendants have failed to have installed at the Hotel Spa an emergency

alert system to notify the Hotel of any inappropriate misconduct that places an invitee in danger.

       107.            Defendants’ multiple breaches of duty yielded a deceptively unsafe

environment for its invitee-guests: a superficially safe luxury resort riddled with inadequate

sexual violence detection and prevention measures, staffed by employees who were at best

indifferent to, and at worst, active participants in the assault described herein.

       108.            The deceptively unsafe environment created as the result of Defendants’

myriad breaches of duty led to Plaintiff placing her trust in Defendants’ representations that their

luxury resort and amenities were nothing more than a vacation site, and in reliance on these

representations, Plaintiff booked her vacation at the Hotel.

       109.            While on her vacation at the Hotel, Defendants’ failure to provide

adequate safety measures to prevent sexual misconduct in the Spa caused Plaintiff to suffer

horrific loss and harm on an immediate and long-term basis when she subjected to a violent,

prolonged sexual assault as the hands of Mr. Chagoyan under the guise of receiving a service




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advertised and provided by the Defendants on site, after Defendants failed to, among other

things,:

              a. Develop and implement even basic sexual assault prevention, detection, and

                  reporting measures for the protection of invitee-guests and employees alike;

              b. Report Mr. Chagoyan’s assault on Plaintiff to Police immediately upon learning

                  of the assault;

              c. Contact the police to come to the scene of the incident;

              d. Arrange for the immediate transportation and emergency medical care of Plaintiff

                  upon learning of her sexual assault at the hands of Mr. Chagoyan;

              e. Terminate Mr. Chagoyan’s supervisor after learning of his complete disregard for

                  Plaintiff’s obvious, severe trauma suffered at the hands of one of his subordinates;

                  and

              f. Provide telephone access or other access to the front desk to communicate any

                  emergency situation to Hotel management/staff or Hotel security.

           110.           After enduring Mr. Chagoyan’s ghastly, repeated violations, Plaintiff’s

humiliation and suffering were compounded and perpetuated by Defendants’ unsympathetic

responses to her suffering.

           111.           These egregious breaches of the most basic duties by Defendants have

compounded to impose upon Plaintiff—a young woman with an established professional career,

academic honors from respected institutions, and a history of decorated athletic performances—a

litany of terrible physical and psychological effects, including, but not limited to:

              a. Intense and prolonged severe anxiety and distress;

              b. Post Traumatic Stress Disorder and Dissociation;



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            c. Persistent negative trauma related emotions, such as fear, horror, anger, guilt,

                shame, hypervigilance, and sleeplessness;

            d. Prolonged negative impact on S.R.J.’s relationship with her long-term significant

                other.

        112.             As a result of her suffering these physical and psychological harms, other

areas of Plaintiff’s life have been dramatically impacted in negative ways, including:

            a. Plaintiff’s needing to take multiple doctor-prescribed weeks of time off work to

                attempt to recover from the mental and physical effects of Mr. Chagoyan’s violent

                sexual assault;

            b. Plaintiff’s needing to maintain a standing appointment with multiple

                psychologists and sporadic appointments with a psychiatrist for evaluation;

            c. Plaintiff’s needing to be prescribed anti-depressant medication, anti-anxiety

                medication, and sleeping pills to deal with the resulting trauma of Mr. Chagoyan’s

                sexual assault.

           WHEREFORE, Plaintiff, S.R.J., demands judgment in her favor and against

 Defendant, in an amount in excess of $75,000, plus pre-judgment interests, post-judgment

 interest, costs, attorneys’ fees, and other such relief as the court deems just and appropriate.

                             COUNT II
       NEGLIGENCE-RESPONDEAT SUPERIOR AGAINST ALL DEFENDANTS

        113.             Plaintiff incorporates by reference all allegations set forth in all previous

paragraphs, as if fully set forth herein.

        114.             Defendants employed Mr. Chagoyan at all times relevant to the events

discussed herein.




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       115.            Upon information and belief, Defendants employed Mr. Chagoyan to

solicit invitee-guests to purchase massage and spa services, which Defendants authorized Mr.

Chagoyan with performing himself.

       116.            Pursuant to the employment relationship between Defendants and Mr.

Chagoyan, Mr. Chagoyan performed these duties of his employment within the operating hours

of the Hotel Spa, on the Hotel’s premises, directed at the Hotel invitees, as set forth by

Defendants, and in the facilities dictated by Defendants.

       117.            Pursuant to the employment relationship or contractual obligations

between Defendants and Mr. Chagoyan and/or Mr. Chagoyan’s employer, Mr. Chagoyan

solicited Plaintiff and her mother as potential customers for Defendants’ Spa, and Mr. Chagoyan

commenced the services in question as part of the services Mr. Chagoyan and his employer were

to contractually obligated to provide, after Plaintiff and her mother agreed to purchase said

services.

       118.            At all material times hereto, Mr. Chagoyan was acting purposefully to

serve Defendants to their benefit.

       119.            The “services” Mr. Chagoyan purported to perform when he sexually

assaulted Plaintiff were superficially similar to the duties of his employment role as a Mr.

Chagoyan, i.e., Mr. Chagoyan was to use his hands in a professional manner to manipulate

Plaintiff’s body so as to perform a massage.

       120.            Therefore, it was expected by Defendants that Mr. Chagoyan would

intentionally make physical contact with invitee-guests as part of the services he was obligated to

provide.




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        121.               Mr. Chagoyan took advantage of the physical proximity offered by the

role Defendants granted him the opportunity to prey upon unsuspecting customers like Plaintiff.

        122.               As a result of Mr. Chagoyan’s misuse of the powers and duties bestowed

upon him by Defendants by virtue of the employer-employee relationship between the two,

Plaintiff was subjected to vicious assault by Mr. Chagoyan.

        123.               As Mr. Chagoyan’s assault on Plaintiff occurred during the course and

scope of his employment as a masseuse and a representative of the Hotel Spa, Defendants are

responsible for the damages incurred by Plaintiff as the result of Mr. Chagoyan’s misconduct.

           WHEREFORE, Plaintiff, S.R.J., demands judgment in her favor and against

Defendant, in an amount in excess of $75,000, plus pre-judgment interests, post-judgment

interest, costs, attorneys’ fees, and other such relief as the court deems just and appropriate.

                                  COUNT III
                INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                          AGAINST ALL DEFENDANTS


        124.               Plaintiff incorporates by reference all allegations set forth in all previous

paragraphs, as if fully set forth herein.

        125.               Defendants’ conduct resulting the in the sexual assault of Plaintiff was so

extreme and outrageous as rise to the level of malice, because:

            a. Defendants retained Mr. Chagoyan’s services after he assaulted an invitee-guest

                on site;

            b. Defendants developed and implemented procedures designed to cover up Mr.

                Chagoyan’s assault, and other incidents like it, at the expense of providing proper

                assistance for victims of such crimes;




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        126.            As a result of this egregious conduct, Plaintiff was lured and entrapped

into a confined area owned by Defendants, where Mr. Chagoyan sexually assaulted her.

        127.            Plaintiff was then subjected to the humiliation and suffering imposed by

procedures specifically designed by Defendants to prevent parties like Plaintiff from obtaining

medical attention and seeking justice in response to Mr. Chagoyan’s crimes.

        128.            Such behavior—by an international conglomerate of luxury resorts, no

less—shocks the conscience, and as a result of this behavior, Plaintiff has suffered, and continues

to suffer, the myriad, ongoing physical and psychological traumas laid out previously herein.

           WHEREFORE, Plaintiff S.R.J. demands judgment in her favor and against Defendant

 in an amount in excess of $75,000, plus pre-judgment interests, post-judgment interest, costs,

 attorneys’ fees, and other such relief as the court deems just and appropriate.

                                   COUNT IV
                  NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
                           AGAINST ALL DEFENDANTS

        129.            Plaintiff incorporates by reference all allegations set forth in all previous

paragraphs, as if fully set forth herein.

        130.            Defendants, individually and through their agents, employees and/or

representatives, had a duty to exercise reasonable and ordinary care in the operation of the Hotel

and Spa, and further in the hiring and supervision of all employees, agents, and other

representatives, all to the benefit of Hotel and Spa guests, patrons, business invitees, and persons

like Plaintiff.

        131.            Defendants were on notice that criminal activity of a sexual nature could,

and did occur, in the Hotel Spa.




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       132.            Defendants knew, or reasonably should have known, that they had an

obligation to safeguard against, and protect their business invitees from criminal activity of a

sexual nature in the Hotel Spa they owned and operated and, without such safeguards and

appropriate polices and procedures in place, the Hotel Spa could allow for opportunities of such

criminal activity to take place.

       133.            Defendants knew, or through the exercise of ordinary and reasonable care,

should have known that victims of sexual assault are highly likely to suffer all of the symptoms

and ongoing traumas Plaintiff continues to suffer today.

       134.            Defendants had a duty to take reasonable precautions to protect their

guests, patrons, and business invitees from criminal activity, such as sexual assault.

       135.            Defendants had a duty to supervise and exercise reasonable care to control

their employees, agents, and other representatives from conducting themselves in a way that

could create an unreasonable risk of emotional harm to guests, patrons, and business invitees of

the Hotel and Spa.

       136.            Finally, because Defendants knew that a prior incident had occurred at the

Hotel Spa in or about 2017, Defendants had actual or constructive knowledge that their Spa

employees, agents, and representatives posed a potential threat of sexual assault to guests,

patrons, and business invitees.

          WHEREFORE, Plaintiff S.R.J. demands judgment in her favor and against Defendant

in an amount in excess of $75,000, plus pre-judgment interests, post-judgment interest, costs,

attorneys’ fees, and other such relief as the court deems just and appropriate.




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                                   COUNT V
                  FALSE IMPRISONMENT AGAINST ALL DEFENDANTS

        137.            Plaintiff incorporates by reference all allegations set forth in all previous

paragraphs, as if fully set forth herein.

        138.            Defendants, through its employee Mr. Chagoyan, generally controlled

entry and egress from the Spa at Defendants’ Hotel.

        139.            Moreover, Defendants’ Spa is comprised of several separate and private

rooms and areas devoted to different purposes.

        140.            The massage rooms are some of the more private areas of the Spa, often

times being occupied by only Mr. Chagoyan and the invitee-guest of the Hotel Spa when

services are being performed.

        141.            When performing the employment duties (personal spa and massage

services) that facilitated his sexually assaulting Plaintiff, Mr. Chagoyan was at all relevant times,

the only employee, representative, or agent of Defendants in the room with Plaintiff.

        142.            Mr. Chagoyan is significantly larger than Plaintiff, and readily capable of

physically dominating her.

        143.            During the sexual assault, and despite Mr. Chagoyan’s overwhelming size,

Plaintiff attempted different maneuvers at different times throughout the assault to end Mr.

Chagoyan’s improper conduct, but to no avail.

        144.            Rather, Mr. Chagoyan repeatedly and forcefully restrained Plaintiff’s body

from retreating from the room while he continued his sexual assault of Plaintiff.

        145.            Even after Plaintiff was able to temporarily halt Mr. Chagoyan’s sexual

assault by rising from the table and shoving Mr. Chagoyan away, Mr. Chagoyan bore down on




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Plaintiff, continuing to massage her neck and arms while placing S.R.J. in extreme fear for her

life.

        146.            These acts by Mr. Chagoyan, while under the employ of Defendants,

resulted in direct interference with Plaintiff’s liberty.

        147.            As a result of Mr. Chagoyan’s false imprisonment of Plaintiff while

working for Defendants, Plaintiff endured a sexual assault and the myriad associated harms that

follow such a traumatic experience, as she was restricted from leaving the Spa room and was

placed in fear for her life as a direct result of Mr. Chagoyan’s actions.

           WHEREFORE, Plaintiff S.R.J. demands judgment in its favor and against Defendant,

 Defendant I, in an amount in excess of $75,000, plus pre-judgment interests, post-judgment

 interest, costs, attorneys’ fees, and other such relief as the court deems just and appropriate.




                                                   Respectfully submitted,

                                                   THE LYNCH LAW GROUP, LLC


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